
In re: Roger Williams Insurance Company, applying for writs of certiorari, prohibition and mandamus. Parish of Orleans.
*912Granted, Stay Order continued.
NOTE: Argument is requested to take into consideration Official Revision Comment (a), La.C.Cr.P. art. 323, and La.R.S. 15:103 (1962), as well as all other sources deemed applicable.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Matthew S. Braniff, Judge of the Criminal District Court for the Parish of Orleans, to transmit to the Supreme Court of Louisiana, immediately the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 31st day of October, 1978 at 10:00 A.M. why the relief prayed for in the petition of the relator should not be granted.
It is further ordered that, in the meantime and until the further orders of this court all proceedings against the relator in said Criminal District Court shall be stayed and suspended.
Argument is requested to take into consideration Official Revision Comment (a), La.C.Cr.P. art. 323, and La.R.S. 15:103 (1962), as well as all other sources deemed applicable.
